Case 4:12-cv-03765 Document 8-2 Filed in TXSD on 04/22/13 Page 1 of 8




    EXHIBIT A
        Case
        Case4:12-cv-03765
             4:12-cv-03765 Document
                           Document8-2 FiledininTXSD
                                    5 Filed      TXSDon
                                                      on01/22/13
                                                         04/22/13 Page
                                                                  Page12of
                                                                         of58



                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                   :
Adam Whitman,                                      :
                                                   : Civil Action No.: 4:12-cv-03765
                        Plaintiff,                 :
         v.                                        :
                                                   :
Lifewatch, Inc. a/k/a Lifewatch-USA,               : FIRST AMENDED COMPLAINT
                                                   :
                        Defendant.                 :
                                                   :
                                                   :

               For this First Amended Complaint, the Plaintiff, Adam Whitman, by undersigned

counsel, states as follows:


                                         JURISDICTION

         1.    This action arises out of Defendant’s repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”).

         2.    This Court has original jurisdiction over Plaintiff’s TCPA claims. Mims v. Arrow

Fin. Serv., LLC, 132 S.Ct. 740 (2012).

         3.    Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

         4.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

transacts business here and a substantial portion of the acts giving rise to this action occurred

here.

                                             PARTIES

         1.    The Plaintiff, Adam Whitman (“Plaintiff”), is an adult individual residing in

Missouri City, Texas.
      Case
      Case4:12-cv-03765
           4:12-cv-03765 Document
                         Document8-2 FiledininTXSD
                                  5 Filed      TXSDon
                                                    on01/22/13
                                                       04/22/13 Page
                                                                Page23of
                                                                       of58



        2.      The Defendant, Lifewatch, Inc. a/k/a Lifewatch-USA (“Lifewatch”), is an New

York business entity with an address of 266 Merrick Road, Lynbrook, New York 11563.

                                                 FACTS

        3.      On or about September 2012, Defendant began contacting Plaintiff using an

automated telephone dialer system with an artificial or prerecorded voice (hereafter

“Robocalls”).

        4.      Defendant placed as many as two calls daily to Plaintiff’s home telephone.

        5.      Plaintiff has no prior business relationship with Defendant and never gave his

consent to be contacted at his home telephone.

        6.      On several occasions, Plaintiff asked a live representative from Defendant to stop

all calls to Plaintiff as Plaintiff did not want their services.

        7.      Despite such, Defendant continued to hound Plaintiff with Robocalls.

A.      Plaintiff Suffered Actual Damages

        8.      The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendant’s unlawful conduct.


                                  COUNT I
        VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                            47 U.S.C. § 227, et seq.

        9.      The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        10.     Without prior consent the Defendant made telephone calls to the Plaintiff’s

residential telephone line using an artificial or prerecorded voice to deliver a message without the

prior express consent of the Plaintiff in violation of 47 U.S.C. § 227(b)(1)(B).




                                                    2
     Case
     Case4:12-cv-03765
          4:12-cv-03765 Document
                        Document8-2 FiledininTXSD
                                 5 Filed      TXSDon
                                                   on01/22/13
                                                      04/22/13 Page
                                                               Page34of
                                                                      of58



       11.     The foregoing acts and omissions of the Defendant violations of the Telephone

Consumer Protection Act, including the above-cited provision.

       12.     The Plaintiff is entitled to damages as a result of the Defendant’s violations.

                                             COUNT II

          INVASION OF PRIVACY BY INTRUSION INTO PRIVATE AFFAIRS

       13.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       14.     The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes…upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

       15.     Texas further recognizes the Plaintiff’s right to be free from invasions of privacy,

thus the Defendant violated Texas state law.

       16.     The Defendant intentionally intruded upon the Plaintiff’s right to privacy by

continually harassing the Plaintiff the above-referenced Robocalls.

       17.     The telephone calls made by the Defendant to the Plaintiff were so persistent and

repeated with such frequency as to be considered, “hounding the plaintiff,” and, “a substantial

burden to her existence,” thus satisfying the Restatement of Torts, Second, § 652(b) requirement

for an invasion of privacy.

       18.     As a result of the intrusions and invasions, the Plaintiff is entitled to actual

damages in an amount to be determined at trial from the Defendant.

       19.     All acts of the Defendants and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, the Defendant is subject to punitive damages.



                                                  3
     Case
     Case4:12-cv-03765
          4:12-cv-03765 Document
                        Document8-2 FiledininTXSD
                                 5 Filed      TXSDon
                                                   on01/22/13
                                                      04/22/13 Page
                                                               Page45of
                                                                      of58



                                   PRAYER FOR RELIEF

              WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendant:

              1. Statutory damages of $500.00 dollars for each violation, pursuant to 47 U.S.C. §

                 227(b)(3)(B) & (C);

              2. Attorney’s costs and fees; and

              3. Such other and further relief as may be just and proper.


              TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: January 22, 2013


                                            Respectfully submitted,

                                            By: __/s/ Jody B. Burton_________

                                            Jody B. Burton, Esq.
                                            CT Bar # 422773
                                            LEMBERG & ASSOCIATES L.L.C.
                                            A Connecticut Law Firm
                                            1100 Summer Street, 3rd Floor
                                            Stamford, CT 06905
                                            Telephone: (203) 653-2250
                                            Facsimile: (203) 653-3424




                                                  4
     Case
     Case4:12-cv-03765
          4:12-cv-03765 Document
                        Document8-2 FiledininTXSD
                                 5 Filed      TXSDon
                                                   on01/22/13
                                                      04/22/13 Page
                                                               Page56of
                                                                      of58




                                CERTIFICATE OF SERVICE

       I hereby certify that on January 22, 2013, a true and correct copy of the foregoing First

Amended Complaint was filed with the United States District Court for the Southern District of

Texas using the CM/ECF system and that the document is available online.


                                             By /s/Jody B. Burton
                                                   Jody B. Burton, Esq.




                                                5
Case 4:12-cv-03765 Document 8-2 Filed in TXSD on 04/22/13 Page 7 of 8
Case 4:12-cv-03765 Document 8-2 Filed in TXSD on 04/22/13 Page 8 of 8
